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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SRI JEEVAN NAGARAPU,

                       Plaintiff,                   Case No. 25-cv-1175 (JMC)

        v.

 STUDENT AND EXCHANGE VISITOR
 PROGRAM, et al.,

                       Defendants.

                                            ORDER

       For the reasons stated on the record, it is hereby ORDERED that Plaintiff’s Motion for

Temporary Restraining Order, ECF 2, is GRANTED. The parties shall therefore comply with the

following:

       Defendants are ORDERED to postpone the effective date of their termination of Plaintiff’s

SEVIS record. That means that Defendants must return Plaintiff’s SEVIS record to “active” status.

       To the extent that Defendants changed the “authorized end date” in SEVIS from August

25, 2026 to April 4, 2025, Defendants are ORDERED to revert Plaintiff to the position he was

in before that action was taken. In other words: the “authorized end date” must be changed back

to August 25, 2026.

       It is further ORDERED that Defendant may not change or otherwise modify Plaintiff’s

record in SEVIS solely on the basis of his September 27, 2023 arrest.

       The parties shall comply with the following briefing schedule: Plaintiff shall file his

supplemental brief in support of his motion for a preliminary injunction by April 28, 2025.

Defendants shall file their response by May 5, 2025. The parties shall appear for a preliminary

injunction hearing on May 9, 2025 at 1:30 PM. The hearing will be on the record before Judge

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Jia M. Cobb and conducted via Zoom. The Court’s Deputy Clerk will provide the information

necessary to access the call.

       This Order shall remain in effect until and through May 9, 2025, unless the Court orders

otherwise.

       SO ORDERED.



                                                   __________________________
                                                   JIA M. COBB
                                                   United States District Judge

Date: April 21, 2025




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